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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION
UNITED STATES OF AMERICA N 0 T I C E
v. 1:l7cr034

REALITY LEIGH WINNER

 

TAKE NOTICE that a proceeding in the above action has been Scheduled for the place, date and
time set forth below:

 

DATE AND TIME: TUESDAY FEBRUARY 27 2018 AT 10:00 A.M.

 

Any requests for continuance or rescheduling should hein the form of a motion and filed with
the CIerk of Court.

Please allow extra arrival time to clear security at the door, and be prepared to produce
personal identification at the security desk when entering the building. Cell phones and pagers
are not permitted. Attorney vehicles may be parked within the campus.

 

PLACE: FEDERAL JUSTICE CENTER
UNITED STATES DISTRICT COURT
600 JAMES BROWN BOULEVARD
AUGUSTA, GEORGIA

** ENTER THE CAMPUSAT THE GUARDHOUSE - 600 JAMES BROWNBOULEVARD

 

TYPE OF PROCEEDING: HEARING - MOTION TO SUPPRESS

 

DATE: January 16, 2018

 

TO: Judge Epps I hereby certify that the foregoing notice was served on the date of
AUSA issuance upon each of the stated recipients by fax, personal delivery,
US Marshal electronic mail, or the U. S. Mail.
US Probation
Brett A. Switzer SCOTT POFF
Ji]l E. McCook CLE F C
Joe D. Whitley %U
John C. Bell, Jr, BY: _
Matthew Scott Chester LISA WIDENER, COUR'I`ROOM DEPUTY CLERK
Thomas H. Barnard 706 823-6467

Titus Nichols

